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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA
                            CENTRAL DIVISION

  ROBERT VANDYKE,                               Civil No. 4:21-cv-00160
      Plaintiff,
  vs.                                           STIPULATED DISMISSAL WITH
                                                PREJUDICE OF PLAINTIFF’S
  JEREMY McDOWELL, ET AL,                       COMPLAINT PURSUANT TO FED.
      Defendants.                               R. CIV. P. 41(a)(1)(A



      COME NOW, the Parties through their respective counsel, and for this

Stipulated Dismissal With Prejudice of Plaintiff’s Complaint Pursuant to Fed. R. Civ.

P. 41(a)(1)(A) state to the Court as follows:

      1.     On June 1, 2021, Plaintiff initiated this action with the filing of a

Complaint. Defendants Derek Shaw, Chad Farrington, and City of Ottumwa (“City

Defendants”) filed an Answer and Affirmative Defenses on August 5, 2021.

Defendants Jeremy McDowell, Don Phillips, and Wapello County, Iowa (“County

Defendants”) filed an Answer and Affirmative Defenses on September 13, 2021.

      2.     The parties have entered into a settlement agreement resolving all

claims against all Defendants. Pursuant to this agreement, Plaintiff now seeks

dismissal with prejudice of all claims in Plaintiff’s Complaint.

      3.     As evidenced by the signatures below, these parties now stipulate to the

dismissal with prejudice, constituting a final judgment of this matter and

discharging all Defendants from all claims raised in the Complaint.

      WHEREFORE, the parties, hereby stipulate to the dismissal, with

prejudice, of Plaintiff’s Complaint and all claims therein.
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                                    PROOF OF SERVICE

         The undersigned certifies that the foregoing instrument was electronically filed on
CM/ECF on December 1, 2021. Subject to the exceptions cited therein, Local Rule 5A provides
this electronic filing, once electronically posted to the registered case party’s CM/ECF account,
constitutes service for purposes of the Federal Rules of Civil Procedure.

        Copies have been provided to all registered parties because once the document is posted,
those parties are able to view and download the presented or filed document.

                                             /s/ Kendra Levine




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